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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

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UNITED STATES DISTRICT COURT

Dr. Marcia Flagler

Plaintif{(s)

(Write the full name of each Plaintiff who is filing this complaint.
Ef the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-\V-

Bethune Cookman University

Defendant(s)
(Write the full name of each defendant who is being sued. If the
— names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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for the 2015 KUS 9 Pi7 3:53
District of .
wis
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Division

Case No. (0° \G-cu- IUZS-ORL-78-Qot

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [ |yes [No

COMPLAINT FOR EMPLOYMENT DISCRIMINATION
I. The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name Dr. Marcia Flagler
Street Address 2505 Caribbean Court
City and County Orlando , Orange
State and Zip Code Florida 32805
Telephone Number 321-443-2511
E-mail Address drmflagler@yahoo.com
B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency,
include the person’s job or title

an organization, or a corporation. For an individual defendant,
(ifknown). Attach additional pages if needed.

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———S

 

 

Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Nadine Heusner
Students Affairs Director oe
640 Dr. _Mary McLeod Bethune Dr

Daytona Beach, Volusia

Florida 321 14
(386) 481-2000

Hubert Grimes

Interim im President (at time)

640 Dr. Mary Mc Leod Bethune Dr
Daytona Beach, Volusia

Florida, 32114

(386) 481-2000

Dr. Dudley

HR Director (at time)

640 ) Dr. Mary McLeod Bi Bethune Dr
Daytona Beach, Volusia

Daytona Beach 321 14

(386) 481-2000

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Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Bethune Cookman University

Street Address 640 Dr. Mary McLeod Bethune Dr

City and County Daytona Beach, Volusia _ oe

State and Zip Code Daytona Beach, 321 14 oe

Telephone Number (386) 481-2000 ; —
Il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VIL, you must first obtain a
Notice of Right to Sue letter Jrom the Equal Employment Opportunity Commission.)

[ ] Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

[] Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission. )

CO

Other federal law (specify the federal law):

Relevant state law (specify, if known):

C1 oO
|

Relevant city or county law (specify, if known):

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Hit.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how cach defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a Separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

UNOOSSO

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
Sederal employment discrimination Statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

August 2017, September 2017 and December 2017

C. I believe that defendant(s) (check one):
is/are still committing these acts against me.
[| is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain).
race
color oe oO 7
gender/sex sexual identity OO
religion Oo a

national origin

age (year of birth) (only when asserting a claim of age discrimination.)

OOOONOO

disability or perceived disability (specify disability)

E, The facts of my case are as follows. Attach additional pages if needed.

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Including EEOC document attachments

(Note: As additional support for the Jacis of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge Jiled with the
relevant state or city human rights division.)

TV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

March 2018
B. The Equal Employment Opportunity Commission (check one):

has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) 08/09/2019

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

CJ 60 days or more have elapsed.
LJ less than 60 days have elapsed.

Vv. Relief

money damages.

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My livelihood was disrupted and my complint to HR was initially stated to be resulting in resolve . However, there
was the cover ups and failure to address the fatse write up. Then my employment as counselor ended with the
professor position being stated through the end of the semester, which ended all of my employment totally. The
harassment began when Nadine Heusner began treating me differently based on my sexual preference. She
began to harass me on a continuous basis. Scott Armstrong's statements are contridictory of his
recommendations. He had begun to treat me differently as well once he was provided a promotion that included
working closely with Nadine Heusner(who prior he had agreed with me regarding her initial harassment} He
became a part of the cover ups once promoted.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure 1o keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 08/09/2019

 

Signature of Plaintiff eeauwel A FAA a

Printed Name of Plaintiff ARGA CL. El Aaler ee
B. For Attorneys

Date of signing: ; ee

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

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